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                                                  LVNV Funding
                                                  RESTORING VALUE THROUGH INNOVATION sm
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LVNV Funding LLC, (LVNV") purchases portfolios of both domestic (U.S.) and international consumer debt owned by credit
grantors including banks and finance companies, and by other debt buyers. As the new owner of any debt previously owned by
another creditor, LVNV's name may appear on a customer's credit report or in a letter from a collection agency.


The management of purchased assets is outsourced to Resurgent Capital Services [P (Resurgent), a third-party specializing in the
management of these types of consumer assets. Resurgent is a manager and servicer of domestic and international consumer debt
portfolios for credit grantors and debt buyers, including LVNV, and performs these services on their behalf. Resurgent, a licensed
debt collector, may perform these activities directly, or in most cases, will outsource the recovery activities to other, independent,
specialized, licensed collection agencies. If you are a customer, please direct your inquiries to the firm currently servicing your
account.


                  If you would like to speak to a representative of Resurgent, please contact Customer Service at:

                                                        1-888-665-0374

                                                           Resurgentcom




                                                 Exhibit P-2                                                                 001
